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        EXHIBIT 45
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                        Recording Industry Association of America and
                           National Music Publishers’ Association
                                         Response to
                       Copyright Office Notification of Inquiry regarding
                        Standard Technical Measures and Section 512
                                      Docket No. 2022-2

                                 Submitted via regulations.gov

                                         May 27, 2022


The Recording Industry Association of America (“RIAA”) and the National Music Publishers’
Association (“NMPA”) welcome this opportunity to provide comments to the Copyright Office
(“Office”) in response to its notice of inquiry regarding Standard Technical Measures (“STMs”)
and Section 512 (“NOI”).1

The RIAA is the trade organization that supports and promotes the creative and commercial
vitality of music labels in the United States, the most vibrant recorded music community in the
world. Our membership – which includes several hundred companies, ranging from small-to-
medium-sized enterprises to global businesses – creates, manufactures, and/or distributes
sound recordings representing the majority of all legitimate recorded music consumption in the
United States. In support of its mission, the RIAA works to protect the intellectual property and
First Amendment rights of artists and music labels; conducts consumer, industry, and technical
research; and monitors and reviews state and federal laws, regulations, and policies.

NMPA is the trade association that represents music publishers and songwriters of all catalog
and revenue sizes in the United States, from large international corporations to small
businesses and individuals. Compositions owned or controlled by NMPA members account for
the vast majority of the market for musical composition licensing in the United States. NMPA
protects and advances the interests of music publishers and songwriters in matters relating
both to domestic and international protection of music copyrights, including aiding our
members in enforcement efforts.



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    87 FR 25049.


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Introduction

It takes the investment and creativity of sound recording artists, songwriters, musicians,
producers, recording engineers, and countless other participants in the music industry to bring
music to life. The United States boasts over one million revenue-generating sound recording
artists and songwriters.2 And their music, across all genres and styles, is protected by copyright,
which is both recognized in the U.S. Constitution3 and in the U.N. Universal Declaration of
Human Rights.4

Overall, the music industry contributes $170 billion to the nation’s economy, supports 2.47
million jobs, and accounts for over 236,000 businesses in the United States.5 The music
industry is also a leader in driving digital commerce. Digital sources of music revenue have
come to account for 87% of the total music market by value in 2021, while physical products
amount to about 11%.6 Paid subscriptions to digital music services were the strongest
contributors to revenue growth in 2021, with approximately 84 million paid subscriptions to on-
demand music services.7

However, in inflation-adjusted dollars, our industry’s revenues in 2021 remain 37% below the
record high of $14.6 billion reported in 1999.8 This period of time coincides with the rise of
broadband and digital piracy generally. As noted in the 2022 Special 301 Report, while the
“increased availability of broadband Internet connections around the world, combined with
increasing accessible and sophisticated mobile technology, has been a boon to the U.S
economy and trade,” these “technological developments have also made the Internet an
expressly efficient vehicle for disseminating pirated content that competes unfairly with
legitimate e-commerce and distribution services that copyright holders and online platforms
use to deliver licensed content.”9 To that end, since 2012, we have sent notices of over 100
million infringements to U.S.-based service providers. In short, copyright infringement
continues to cause significant harm to the U.S. music industry.

Technological advancements in the identification and protection of copyrighted works online
offer great potential in mitigating this harm but have thus far failed to realize their promise.
This is in part because of interpretations of Section 512 that disincentivize cooperation and

2
  Source: http://50statesofmusic.com/?USimpact.
3
  U.S. Const. art. 1, § 8, cl. 8 (“To promote the Progress of Science and useful Arts, by securing for limited Times to
Authors and Inventors the exclusive Right to their respective Writings and Discoveries”).
4
  Art. 27, § 2 (“Everyone has the right to the protection of the moral and material interests resulting from any
scientific, literary or artistic production of which he is the author”).
5
  Source: http://50statesofmusic.com/?USimpact.
6
  Source: RIAA, Year-end 2021 RIAA Revenue Statistics, available at https://www.riaa.com/wp-
content/uploads/2022/03/2021-Year-End-Music-Industry-Revenue-Report.pdf.
7
  Id.
8
  Id.
9
  2022 Special 301 Report, April 27, 2022, p. 20, available at
https://ustr.gov/sites/default/files/IssueAreas/IP/2022%20Special%20301%20Report.pdf.


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progress in this area. We agree with the Office that a complete consensus across industries and
one-size-fits-all technical solutions are unlikely to emerge under current conditions.

With this background in mind, we offer the following responses to some of the questions posed
in the NOI.10


Comments


Questions about existing technologies

Question 1 & 2 – Existing Technologies - We believe there are existing technologies that meet
the statutory definition of STMs in Section 512(i). For example, there are the technical
messaging standards developed by DDEX to share metadata about music being licensed in the
value chain.11 These messaging standards include standards for identifying who claims rights to
the music, and can express what permissions are granted in connection with the music.12
Members in DDEX, who are eligible to work on developing the standards, include a broad multi-
stakeholder group of digital music participants, including Amazon, Apple, ASCAP, BMI, Meta,
Google, GEMA, Kobalt Music, Pandora, PPL, SACEM, Sony Music, Warner Music, Universal
Music, Tencent Entertainment, Spotify, SoundExchange, 7Digital Group, Netflix, Audible Magic,
Open Play, Inc., Pex, Musio.AI, ByteDance, British Library, CD Baby, Songtrust, SoundCloud,
Deezer, Downtown Music Publishing, Sony Music Publishing, Gracenote, Tidal, Merlin, and
many others. DDEX messaging standards are available to any person on reasonable and
nondiscriminatory terms.

Another example is the technical specification developed by the Coalition of Content
Provenance and Authenticity (C2PA).13 As noted in the overview of those specifications, they
were developed to provide content provenance and authenticity, including information such as
authorship, in a secure, tamper-evident, and standardized way across platforms.14 Per C2PA,
who developed the specification and whose members include Adobe, arm, BBC, intel,
Microsoft, Sony, RIAA, Truepic, and Twitter, the specification is an open, technical standard
providing publishers, creators, and consumers the ability to trace the origin of different types of
media.

10
   We note the Copyright Office’s admonition that these consultations on the voluntary identification and
implementation of technical measures are separate from the Copyright Office’s forthcoming notice of inquiry on
Standard Technical Measures which will focus specifically on section 512(i) of the DMCA. Accordingly, we do not
comment on section 512(i) here, but intend to address it in response to the forthcoming notice of inquiry.
11
   Source: DDEX, available at https://ddex.net.
12
   For example, see the DDEX standards known for recording data and rights. These standards, known as the RDR
standards, are used to send information about rights in sound recordings. For more information, see
https://ddex.net/standards/recording-data-and-rights/.
13
   A public draft of the C2PA technical specifications is available at https://c2pa.org/public-draft/.
14
   Id. at Section 1.1.


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There are also technical measures, such as audio fingerprinting, a type of automatic content
recognition (ACR) technology, which have been developed and are used broadly in the
marketplace to identify copyrighted sound recordings. These technologies and their use have
been discussed in an asynchronous fashion among various stakeholders in the internet
ecosystem for music, including rights holders, such as RIAA and NMPA members; service
providers, including YouTube, Facebook, Tumblr and others; and companies that provide audio
fingerprinting services, including ACR Cloud and Audible Magic. While some service providers
have elected to develop in-house solutions based on audio fingerprinting technical measures,
other service providers license third-party audio fingerprinting solutions. We believe this
technology should also qualify as an STM.

Another example of a widely used technical measure that should qualify as an STM is
encryption-based content protection. Marketplace implementations of this technical measure
include protection systems owned by Apple (Fairplay), Microsoft (PlayRead), and Google
(Widevine), or encryption algorithms standardized by the U.S. government (AES-128). AES-128
was ratified by the National Institute of Standards and Technology (NIST) after an open
consultation process. The others listed above have been discussed in a bilateral asynchronous
fashion and reached broad consensus through major marketplace adoption. These
technologies are used in all major video streaming services, such as Hulu, Netflix, HBO, Disney+,
etc., as well as in most music streaming services.

Please see our statement of interest dated February 8, 2022 in response to the Office’s notice
of inquiry regarding technical measures for more examples of technologies that are used by
copyright holders to identify or protect copyrighted works that have been developed through
formal or informal multistakeholder processes.

In each of these cases, the technical measures are or can be used to identify or protect
copyrighted works and are available on reasonable and non-discriminatory terms. These
technical measures do not impose substantial costs on service providers, as service providers
have already implemented the technology or are active in the development of the technical
measure. And they have been reached through either a more formal standards setting process
or an informal, de facto multi-industry standards process given the widespread adoption of the
technical measure among rights holders and service providers.

That being said, we acknowledge the Office’s observation that several participants in the
Office’s DMCA study felt that no STMs have been identified under section 512(i).15 We believe
this is in part because of disincentives for service providers to acknowledge any technical
measure as an STM under section 512(i), and because section 512(i) has been misconstrued to
require that a technical measure must be expressly identified as an STM under section 512(i) by
a broad consensus of stakeholders.

15
     87 FR at 25050.


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Solutions to address this problem could include (i) having a regulatory agency such as the
Copyright Office identify technologies that qualify as an STM, (ii) clarifying the definition of
section 512(i) to explicitly provide that technologies that are widely used to identify or protect a
particular class of copyrighted works with a particular class of service providers also qualify as
STMs, and/or (iii) otherwise clarifying the definition of STMs to disavow the “veto” power
service providers believe they currently enjoy to stop any technology from being recognized as
an STM.


Questions about Section 512(i)

Question 3 – Process under the current statute – The current statute does not call for a formal
process for an adoption of an STM. This view is buttressed not only by the plain meaning of the
statute, but also by the legislative history of section 512(i). Per the Senate Judiciary Report on
the Digital Millennium Copyright Act of 1998, Report 105-190, dated May 11, 1998, the Senate
Judiciary Committee “believed that technology is likely the solution to many of the issues facing
copyright owners and service providers in the digital age.”16 In fact, the committee strongly
urged “all affected parties expeditiously to commence voluntary, interindustry discussions to
agree upon and implement the best technological solutions to achieve these goals.”17 Further,
the Committee anticipated that STMs could be developed “both in recognized open standard
setting bodies or in ad hoc groups” so long as the process is “open, fair, voluntary, and multi-
industry”.18 As an example, the Committee noted with approval the ad hoc process used to
develop copy protection technology for use in connection with DVD.19 Clearly, Congress
intended that copyright holders and service providers come together cooperatively to come up
with flexible, practical solutions to address pervasive infringement online.

Given this legislative history, it seems clear that an “ad hoc” process should be sufficient under
the statute, as should a process developed in open standard setting bodies. Such a process
could be convened or facilitated by a variety of parties, including the International Organization
for Standardization (ISO), Internet Engineering Task Force (IETF), World Wide Web Consortium
(W3C), governments, service providers, or rights holders. Likewise, the process could take the
form of a traditional standards body setting approach (such as that used in ISO or IETF), or an
informal, asynchronous process among stakeholders. All that matters is that the development
of the technical measure was pursuant to a process that was open, fair, voluntary, included
relevant stakeholders, and received broad consensus from copyright owners and service
providers. And while it would be useful to have a regulatory agency or standards body of the
group of copyright holders and service providers that reach broad consensus of the technical
measure publicly recognize that technical measure as a “standard technical measure” under
512(i), such public recognition is not necessary under the statute.
16
   Senate Judiciary Report on the Digital Millennium Copyright Act of 1998, Report 105-190, May 11, 1998, p. 52
17
   Id.
18
   Id.
19
   Id.


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Question 4 – International Organizations – Yes, technologies developed or used by international
organizations or entities could become STMs for purposes of section 512(i). As noted above, all
that is needed is that the technical measure is used by copyright owners to identify or protect
copyrighted works, that the technical measure has received broad consensus from copyright
owners and service providers, and that the process to develop the technical measure, whether
formal or informal, was open, fair, voluntary, and included relevant stakeholders.

Question 5 – Consensus – While the statute does not define consensus, at minimum, it is clear
that broad consensus does not require full consensus. Other organizations that have defined
some form of consensus in the standards context likewise clarify that it does not require
unanimity. For example, ISO defines consensus to mean “general agreement where there is no
sustained opposition to substantial issues by any important part of the concerned interests, in a
process that seeks to take into account the views of all parties concerned.”20 IETF uses the
term “rough consensus” and under its process, does not require that all participants agree, but
rather that a large majority of those who care must agree.21 Their simple version of the
definition for rough consensus provides that strongly held objections must be debated until
most people are satisfied that these objections are wrong.22 And the Merriam-Webster
dictionary provides a similar definition for consensus as “the judgment arrived at by most of
those concerned.”23 Under any of these definitions, broad consensus can be achieved without
unanimity, and over the objections of any bad faith or unreasonable holdout. As discussed
above, broad consensus can also be achieved in an informal, asynchronous basis, as evidenced
by marketplace adoption of various implementations of the technical measure (such as what is
evidenced in connection with audio fingerprinting and encryption-based content protection), as
well as through more formal approaches.

The term “multi-industry” merely means involving or relating to more than one industry.24 It
does not require all classes of copyright holders and all classes of service providers to
participate to qualify as “multi-industry.” Thus, a “multi-industry” process could include one
copyright-dependent industry, such as music, and one class of service providers, such as 512(c)
hosting providers.

Further, when considering this clear meaning of “multi-industry”, along with the limitation on
the definition of consensus noted above to “those concerned”, it seems reasonable to interpret
the statute to permit STMs to be limited to a particular class of copyrighted works and/or a
particular class of service providers. Under this interpretation, the service provider’s safe
harbor is only conditioned on accommodating and not interfering with those STMs that apply to
its type or class of service provider.


20
   See https://www.iso.org/glossary.html.
21
   See https://www.ietf.org/about/participate/tao/, section 4.2.
22
   Id.
23
   See https://www.merriam-webster.com/dictionary/consensus.
24
   See https://www.merriam-webster.com/dictionary/multi-industry.


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Question 8 – Internet service provider responsibilities – Under the statute, service providers
must make and allow use of STMs on their platforms. While the statute does not define
“accommodate,” the Merriam-Webster dictionary defines the term to include “to provide with
something desired, needed or suited” or “to make fit.”25 Thus, the “accommodate” provision
should be read as requiring proactive activity on the part of the service provider to make the
applicable STM work or fit within its systems or network, including adopting and effectively
implementing the STM on its system or network, as applicable. As noted above, these
provisions should be read in the context of practical solutions, noting that some STMs may be
applicable for certain classes of copyrighted works and service providers, but not others. If the
term “accommodate” is not interpreted in this fashion, the term should be defined, or the
provision amended to make it clear that service providers must adopt, implement,
accommodate, and not interfere with STMs.


Questions about potential changes to Section 512

Question 9 – Definition – As noted above, a reasonable interpretation of section 512(i) should
permit technical measures for a subset of copyright holders and a subset of service providers to
qualify as STMs, regardless of whether broad consensus for the technical measure was
developed pursuant to a formal or informal voluntary process. It also should require that
service providers engage proactively to make those technical measures work within their
systems or network. That said, we are not aware of any court case that has addressed whether
a technical measure qualifies as an STM under section 512(i), and we acknowledge that several
service providers are resistant to calling any technical measure, however broadly adopted, an
STM under section 512(i). Because of this, the definition of STMs in section 512(i) could be
clarified to expressly confirm the interpretations of the meaning of section 512(i) noted
above.26

Question 10 – Obligations – In light of the goals of section 512(i) noted above, and the
extraordinary limitations of liability permitted by the DMCA, it is reasonable for safe harbors to
be on the line for a service provider that does not comply with these obligations.

Question 11 – Adoption through rulemaking – As noted above, given the lack of formal
recognition of existing STMs, regulatory authority could be used to provide transparency over
what technical measures the regulatory authority believes have met the statutory definition
under existing section 512(i). Alternatively, section 512(i) could be amended or a new law
adopted to give a regulatory body the power to identify or designate widely used technical
measures that should be implemented by applicable service providers. Under this alternative
scenario, the regulatory body would be a “decision maker,” subject to statutory guidelines, in
25
  See https://www.merriam-webster.com/dictionary/accommodate.
26
  We note that S. 3880, the SMART Copyright Act of 2022, Section 2, available at
https://www.congress.gov/bill/117th-congress/senate-bill/3880/text, already includes some helpful clarifications
to the definition of “standard technical measures” that should be considered.


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determining what technical measures must be used by relevant service providers. This would
remove the perceived “veto” power service providers currently enjoy in having technical
measures formally proclaimed an STM. It would also further incentivize the development and
adoption of effective tools to address online piracy while giving platforms clarity, and further
the goals of Congress that creators and platforms work together to protect copyright online.

Question 12 – Alternatives – Senators Leahy and Tillis recently introduced legislation known as
the SMART Copyright Act of 2022,27 which provides an additional proposal to achieve
Congress’s original goals for section 512(i). Among other things, it provides an alternative
process outside of the DMCA safe harbors to identify and obligate service providers to adopt
technical measures that are found to meet certain criteria. This thoughtful proposal promises a
big step toward balancing the interests of creators and tech companies in today’s integrated
commercial marketplace and should be carefully considered.

                                             ***
We thank the Office for the opportunity to share these views on STMs and section 512. We
look forward to continuing this conversation with the Office and other policy makers.




27
   S. 3880 – SMART Copyright Act of 2022, available at https://www.congress.gov/bill/117th-congress/senate-
bill/3880/text.


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